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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

EARTHA L. MCMILLER,                        )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   )         No. 4:09CV157 CEJ
                                           )
METRO,                                     )
                                           )
             Defendant.                    )

                          MEMORANDUM AND ORDER

      This matter is before the Court on plaintiff’s motion for appointment of counsel.

The motion will be denied.

      There is no constitutional or statutory right to appointed counsel in civil cases.

Nelson v. Redfield Lithograph Printing, 728 F.2d 1003, 1004 (8th Cir. 1984). In

determining whether to appoint counsel, the Court considers several factors, including

(1) whether the plaintiff has presented non-frivolous allegations supporting his or her

prayer for relief; (2) whether the plaintiff will substantially benefit from the

appointment of counsel; (3) whether there is a need to further investigate and present

the facts related to the plaintiff’s allegations; and (4) whether the factual and legal

issues presented by the action are complex. See Johnson v. Williams, 788 F.2d 1319,

1322-23 (8th Cir. 1986); Nelson, 728 F.2d at 1005.
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        After considering these factors, the Court finds that the facts and legal issues

involved are not so complicated that the appointment of counsel is warranted at this

time.

        Accordingly,

        IT IS HEREBY ORDERED that plaintiff’s motion for appointment of counsel

is denied without prejudice.

        Dated this 25th day of February, 2009.




                                            UNITED STATES DISTRICT JUDGE




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